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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

             Timothy Jackson,

                                     Plaintiff,

             v.

             Laura Wright, Milton B. Lee, Melisa             Case No. 4:21-cv-00033-ALM
             Denis, Mary Denny, Daniel Feehan,
             A.K. Mago, Carlos Munguia, and G.
             Brint Ryan, each in their official capacities
             as members of the Board of Regents for
             the University of North Texas System;
             Rachel Gain; Ellen Bakulina; Andrew
             Chung; Diego Cubero; Steven Friedson;
             Rebecca Dowd Geoffroy-Schwinden;
             Benjamin Graf; Frank Heidlberger;
             Bernardo Illari; Justin Lavacek; Peter
             Mondelli; Margaret Notley; April L.
             Prince; Cathy Ragland; Gillian
             Robertson; Hendrik Schulze; Vivek
             Virani; and Brian F. Wright,
             Defendants.



     DECLARATION OF ATTORNEY MICHAEL THAD ALLEN IN SUPPORT OF
         PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’
                     SUMMARY JUDGMENT MOTIONS

 I am an attorney in good standing representing the Plaintiff in the above-caption civil action; I am
 over the age of 18 understand the meaning of an oath; I make the following statements based upon
 my direct knowledge and experience:

        1.        I am a founding partner of the law firm, Allen Harris PLLC, and I have been

 admitted to this Court pro hac vice for the purpose of representing the Plaintiff, Timothy Jackson.

        2.        I submit this Declaration for the purpose of authenticating the following documents,

 Each of which is a true and accurate copy:




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     Exhibit GG-   Deposition transcript of Steven Slottow, dated November 7, 2024.

     Exhibit HH-   Philip Ewell, Music Theory and the White Racial Frame, Music Theory Online,
                   26:2 (September 2020) (un-paginated).

     Exhibit II-   A printout of the online archive of the manuscripts of Heinrich Schenker,
                   Schenker Documents Online, indicating “Schenker Documents and This
                   Addition,” which states, “Schenker left behind approximately 130,000
                   manuscript and typescript leaves…” available at
                   https://schenkerdocumentsonline.org/index.html

     Exhibit JJ-   And email thread between various faculty of the University of North Texas,
                   Division of Music History, Theory, and Ethnomusicology, dated July 25,
                   2020, with Bates numbers UNT_000300-UNT_000303.

     Exhibit KK-   Print out of the title page, table of contents, and appendix captioned,
                   “Directions to Contributors,” of the Journal published by the University of
                   North Texas Press, Theoria 26 (2020), edited by Defendant Frank
                   Heidlberger.

     Exhibit LL-   Documents presented by Timothy Jackson to UNT composed of various
                   internal correspondence of the editorial staff of the Journal of Schenkerian
                   Studies, Attached as Exhibit A to the Affidavit of Timothy Jackson, ECF
                   No. 1-1, and already filed with this Court as ECF 1-2 at Page ID #: 54-123,
                   with Bates numbers JACKSON000001-JACKSON000070.

     Exhibit MM-   Undated, handwritten card with picture of envelope from Levi Walls to
                   Timothy Jackson, with Bates stamp JACKS_151898.

     Exhibit NN-   Call for Papers issued by the Journal of Schenkerian Studies soliciting articles
                   for a symposium, previously submitted to this Court as ECF No. 1-11 at
                   Page ID #: 311, Exhibit J to the Affidavit of Timothy Jackson, ECF No 1-1,
                   with Bates number JACKSON000249.

     Exhibit OO-   Facebook post of Levi Walls, dated July 27, 2020, previously submitted to
                   this Court as ECF No. 1-6 at Page ID #: 291-293, Exhibit E to the Affidavit
                   of Timothy Jackson, ECF No 1-1, with Bates number JACKSON000234-
                   JACKSON000236.

     Exhibit PP-   Deposition transcript of Levi Walls, dated May 18, 2021.

     Exhibit QQ-   Email of John Richmond, dated July 31, 2020 with Bates number
                   UNT_000568.

     Exhibit RR-   Email thread between various faculty of the University of North Texas,
                   Division of Music History, Theory, and Ethnomusicology, dated July 26,
                   2020, with Bates number UNT_000304-UNT_000309.



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     Exhibit SS-     Email thread between Peter Kohanski and Defendant Rebecca Geoffrey-
                     Schwinden, dated July 27, 2020, with Bates number UNT_000355-
                     UNT_000356.

     Exhibit TT-     Email from Defendant Rebecca Geoffrey-Schwinden to John Richmond,
                     dated July 30, 2020, with Bates number UNT_000425.

     Exhibit UU-     Email thread between Defendant Rebecca Geoffrey-Schwinden and John
                     Richmond, dated July 29, 2020, with Bates number UNT_000377-
                     UNT_000378.

     Exhibit VV-     Email thread between Provost Jennifer Cowley and John Ishiyama, dated
                     August 3, 2020, with Bates number UNT_002453- UNT_002454.

     Exhibit WW-     Email of Jennifer Cowley to members of the so-called “Ad Hoc Panel,”
                     dated August 6, 2020, with Bates number UNT_002460.

     Exhibit XX-     Medical records of Timothy Jackson, date of service July 30, 2020,
                     emergency room, Texas Health Presbyterian Hospital Flower Mound, with
                     Bates number JACKS_07156-JACKS_07163.

     Exhibit YY-     Letter of Attorney Michael Thad Allen to Laura Wright, Lesa Roe, Jennifer
                     Cowley, John Richmond, and Benjamin Brand, dated July 31, 2020,
                     previously submitted to this Court as ECF No. 1-16, Exhibit O to the
                     Affidavit of Timothy Jackson, ECF No. 1-1, with Bates number
                     JACKSON000255- JACKSON000260.

     Exhibit ZZ-     University of North Texas Policy 06.035 Academic Freedom and Academic
                     Responsibility.

     Exhibit AAA-    Letter of Provost Jennifer Cowley to Timothy Jackson, dated September 7,
                     2020, with Bates number JACKSON000261- JACKSON000263.

     Exhibit BBB- Email thread between John Ishiyama and Timothy Jackson, dated October
                  14, 2020, with Bates number UNT_002634- UNT_002635.

     Exhibit CCC- University of North Texas system, Board of Regents Rules, Chapter 03-
                  Board Governance, § 03.800.

     Exhibit DDD- Deposition transcript of John Ishiyama, dated September 27, 2024.

     Exhibit EEE- Committee on Publication Ethics (COPE), Guidelines: A Short Guide to
                  Ethical Editing for New Editors, with Bates number UNT 003303-
                  UNT_003314.

     Exhibit FFF-    Email of Timothy Jackson to John Ishiyama and all members of the so-called
                     “Ad Hoc Panel,” dated October 17, 2020 with attachments, Bates numbered
                     UNT_002645- UNT_002782.


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     Exhibit GGG- Letter of Jennifer Cowley to Timothy Jackson, dated November 30, 2020,
                  previously submitted to this Court as ECF No. 1-21, Exhibit T to the
                  Affidavit of Timothy Jackson, ECF No. 1-1, with Bates number
                  JACKSON000271.

     Exhibit HHH- Email thread between Levi Walls and Timothy Jackson, dated November 17,
                  2019, and previously submitted to this Court as ECF No. 1-8, Exhibit G to
                  the Affidavit of Timothy Jackson, ECF No. 1-1, with Bates number
                  JACKSON000240- JACKSON000244.

     Exhibit III-   Timothy Jackson’s Response to the so-called “Ad Hoc Panel” Report
                    (Exhibit C), submitted previously to this Court as ECF No. 1-23, Exhibit V
                    to the Affidavit of Timothy Jackson, ECF Note. 1-1, with Bates numbers
                    JACKSON000273- JACKSON000293.

     Exhibit JJJ-   Email thread between Benjamin Brand and Jennifer Cowley, dated May 17,
                    2021, with Bates number UNT005054- UNT005055.

     Exhibit KKK- HİLMİ NADİR YÜKSEL, “SCHENKER ANALİZİ YOLUYLA F.
                  SCHUBERT’İN “ARPEGGIONE SONATI”NIN YORUM VE
                  İCRASININ YÖNLENDİRİLMESİ; 1. MUVMAN (ALLEGRO
                  MODERATO), 1. TEMA’DAN BİR KESİT,” unpublished article submitted
                  for publication in Volume 13 of the Journal of Schenkerian Studies
                  (submitted in the record to this Court with permission of the author).

     Exhibit LLL-   Lucinda Breeding, UNT professor accused of racism continues lawsuit
                    against the university, August 15, 2021, Denton Record-Chronicle, available
                    at https://dentonrc.com/education/unt-professor-accused-of-racism-
                    continues-lawsuit-against-theuniversity/article_4b1a53c8-f613-5cbc-84c5-
                    164e818ae689.html

     Exhibit MMM- Email thread between Kofi Agawu and Timothy Jackson, dated March 9,
                  2022, with Bates number JACKS_151905- JACKS_151909.

     Exhibit NNN- Emails between Levi Walls and John Ishiyama, dated September 30, 2020,
                  with Bates number UNT_002552.

     Exhibit OOO- Deposition transcript of Diego Cubero, dated September 26, 2024.

 SIGNED UNDER THE PENALTIES OF PERJURY THIS 17TH DAY OF JANUARY 2025,




                                                  Michael Thad Allen, Esq.



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